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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

MCOM IP, LLC,                                  )
    Plaintiff,                                 )
                                               )       Civil Action No. 6:21-cv-00829
v.                                             )
                                               )
MX TECHNOLOGIES, INC.,                         )       JURY TRIAL DEMANDED
     Defendant.                                )

           PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

           mCom IP, LLC (“mCom”) files this Original Complaint and demand for jury trial seeking

relief from patent infringement of the claims of U.S. Patent No. 8,862,508 (“the ‘508 patent”)

(referred to as the “Patent-in-Suit”) by MX Technologies, Inc. (“MX”).

     I.       THE PARTIES

     1.    Plaintiff mCom is a Texas Limited Liability Company with its principal place of business

located in Harris County, Texas.

     2. On information and belief, MX is a credit union existing under the laws of the State of

Utah, with a principal place of business located at 4601 S Loop 289 #28, Lubbock, TX 79424, in

collaboration with Viva First. On information and belief, MX sells and offers to sell products and

services throughout Texas, including in this judicial district, and introduces products and services

that perform infringing methods or processes into the stream of commerce knowing that they

would be sold in Texas and this judicial district. Defendant may be served at its place of business

or wherever they may be found.

     II.      JURISDICTION AND VENUE




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    3. This Court has original subject-matter jurisdiction over the entire action pursuant to 28

U.S.C. §§ 1331 and 1338(a) because Plaintiff’s claim arises under an Act of Congress relating to

patents, namely, 35 U.S.C. § 271.

    4. This Court has personal jurisdiction over Defendant because: (i) Defendant is present

within or has minimum contacts within the State of Texas and this judicial district; (ii) Defendant

has purposefully availed itself of the privileges of conducting business in the State of Texas and

in this judicial district; and (iii) Plaintiff’s cause of action arises directly from Defendant’s business

contacts and other activities in the State of Texas and in this judicial district.

    5. Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1400(b). Defendant has

committed acts of infringement and has a regular and established place of business in this District.

Further, venue is proper because Defendant conducts substantial business in this forum, directly

or through intermediaries, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct and/or

deriving substantial revenue from goods and services provided to individuals in Texas and this

District.

    III.    INFRINGEMENT

    A. Infringement of the ’508 Patent

    6. On October 14, 2014, U.S. Patent No. 8,862,508 (“the ’508 patent”, attached as Exhibit A)

entitled “System and method for unifying e-banking touch points and providing personalized

financial services” was duly and legally issued by the U.S. Patent and Trademark Office. MCom

owns the ’508 patent by assignment.

    7. The ’508 patent relates to novel and improved systems and methods for constructing a

unified banking system.



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           8. MX maintains, operates, and administers methods and systems of unified banking systems

       that infringe one or more claims of the ‘508 patent, including one or more of claims 1-20, literally

       or under the doctrine of equivalents. Defendant put the inventions claimed by the ‘508 Patent into

       service (i.e., used them); but for Defendant’s actions, the claimed-inventions embodiments

       involving Defendant’s products and services would never have been put into service. Defendant’s

       acts complained of herein caused those claimed-invention embodiments as a whole to perform,

       and Defendant’s procurement of monetary and commercial benefit from it.

           9. Support for the allegations of infringement may be found in the following preliminary

       table:

       Claim                                                MX

1. A method for
constructing a
unified electronic
banking
environment, said
method comprising
the steps of:           Attachment 1 (Ultimate guide money experience) at 2



                        Source: https://www.mx.com/assets/resources/ult-guides/ultimate-
                        guide-money-
                        experience.pdf?mkt_tok=eyJpIjoiT0RBMllqVXpPVGd6TVRjeSIsInQi
                        OiJUcHlEQlZ6amdZZG15eVpLN1ZVXC9cLzBQdVhLTG9teFpYNUl
                        obDVCTVpqakJTZCtGN0RKUTFHbWR6b3VjeXV6and2U3BNSWx
                        ValIrZWtIZ2JtcFZYaGRHTGxqZnNBWFc4RXV1TUZnMHFMXC9
                        uK2hFRzVrOVdSdlJUeVhQQkNRa3U3NiJ9

providing at least
  one common
  multi-channel
  server coupled to
  more than one e-
  banking touch

                                                        3
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     Claim                                             MX

points and also
coupled to at least
one computer
system configured
with at least one
control console,
said more than one
e-banking touch
points and said at
least one computer
system being
provided in
locations remote
from the other, and
further wherein
                      Attachment 2 ( Mobile Banking Application)
said more than one
plurality of e-
banking touch
points are            Source: https://www.mx.com/products/mobile-banking/#helios-sec-1
comprised of at
least two different
types of e-banking
touch point
devices, each of
which comprise
one or more of an
automatic
teller/transaction
machine (ATM), a
self service coin
counter (SSCC), a
kiosk, a digital      Attachment 3 (Helios Guide V3)
signage display, an   Source:
online accessible     https://hubspot.mx.com/hubfs/Helios%20Guide%20v3.pdf?t=15167482
banking website, a    80591
personal digital
assistant (PDA), a
personal computer
(PC), a laptop, a

                                                   4
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       Claim                                             MX

 wireless device, or
 a combination of
 two or more
 thereof, and
 wherein at least
 one of said e-
 banking touch
 points is in
 communication
 with one or more
 financial
 institutions
 through said multi-
 channel server;

receiving an
  actionable input
  from at least one e-
  banking touch
  point;




                         Attachment 1 (Ultimate guide money experience) at 4



                         Source: https://www.mx.com/assets/resources/ult-guides/ultimate-
                         guide-money-
                         experience.pdf?mkt_tok=eyJpIjoiT0RBMllqVXpPVGd6TVRjeSIsInQi
                         OiJUcHlEQlZ6amdZZG15eVpLN1ZVXC9cLzBQdVhLTG9teFpYNUl
                         obDVCTVpqakJTZCtGN0RKUTFHbWR6b3VjeXV6and2U3BNSWx



                                                     5
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       Claim                                            MX

                        ValIrZWtIZ2JtcFZYaGRHTGxqZnNBWFc4RXV1TUZnMHFMXC9
                        uK2hFRzVrOVdSdlJUeVhQQkNRa3U3NiJ9




retrieving previously
  stored data
  associated with
  said actionable
  input, wherein said
  previously stored
  data is accessible
  to any one of said
  e-banking touch       Attachment 4 (Personalized bank Marketing) at 3
  points, and said
  previously stored
  data comprises        Source: https://www.mx.com/products/marketing/
  data from one or
  more financial
  institutions and
  one or more user-
  defined
  preferences;

delivering said
 retrieved data to
 said at least one e-
 banking touch
 point transmitting
 said actionable
 input;
                        Attachment 1 (Ultimate guide money experience) at 4



                        Source https://www.mx.com/assets/resources/ult-guides/ultimate-guide-
                        money-

                                                    6
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       Claim                                                MX

                         experience.pdf?mkt_tok=eyJpIjoiT0RBMllqVXpPVGd6TVRjeSIsInQi
                         OiJUcHlEQlZ6amdZZG15eVpLN1ZVXC9cLzBQdVhLTG9teFpYNUl
                         obDVCTVpqakJTZCtGN0RKUTFHbWR6b3VjeXV6and2U3BNSWx
                         ValIrZWtIZ2JtcFZYaGRHTGxqZnNBWFc4RXV1TUZnMHFMXC9
                         uK2hFRzVrOVdSdlJUeVhQQkNRa3U3NiJ9

storing transactional
  usage data
  associated with
  said at least one e-
  banking touch
  point transmitting
  said actionable
  input, wherein said
  stored
  transactional usage
  data is accessible
  by any one of said
  more than one e-
  banking touch          Attachment 5 (Fintech Data Analysis) at 3
  points and said at
  least one computer
  system;
                         Source: https://www.mx.com/products/analytics/

monitoring via said
 server an active
 session in real-time
 for selection of
 targeted marketing
 content correlated
 to said user-
 defined
 preferences;

                         Attachment 5 (Fintech Data Analysis) at 2



                         Source: https://www.mx.com/products/analytics/


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       Claim                                            MX

subsequent to said
  monitoring,
  selecting in real-
  time said targeted
  marketing content
  correlated to said
                        Attachment 4 (Personalized bank Marketing) at 3
  user-defined
  preferences; and

                        Source: https://www.mx.com/products/marketing/




transmitting in real-
  time said targeted
  marketing content
  during said active
  session to at least
  one of said e-
                        Attachment 4 (Personalized bank Marketing) at 3
  banking touch
  points for
  acceptance,
  rejection, or no      Source: https://www.mx.com/products/marketing/
  response by a user,
  wherein said
  response by said
  user is used during
  said active session
  to determine
  whether
  transmission of
  additional
  information related
  to said marketing
  content occurs
  during said active
  session.



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       Claim                                             MX

Claim 7, A method
 for constructing a
 unified electronic
 banking
 environment, said
 method comprising
 the steps of:




                         Attachment 1 (Ultimate guide money experience) at 2



                         Source:      https://www.mx.com/assets/resources/ult-guides/ultimate-
                         guide-money-
                         experience.pdf?mkt_tok=eyJpIjoiT0RBMllqVXpPVGd6TVRjeSIsInQi
                         OiJUcHlEQlZ6amdZZG15eVpLN1ZVXC9cLzBQdVhLTG9teFpYNUl
                         obDVCTVpqakJTZCtGN0RKUTFHbWR6b3VjeXV6and2U3BNSWx
                         ValIrZWtIZ2JtcFZYaGRHTGxqZnNBWFc4RXV1TUZnMHFMXC9
                         uK2hFRzVrOVdSdlJUeVhQQkNRa3U3NiJ9

providing a common
  multi-channel
  server coupled to
  one or more e-
  banking touch
  points and also
  coupled to one or
  more computer
  systems, wherein
  each computer
  system is
  associated with a
  financial
  institution, said e-
  banking touch
  points being
  provided in
  locations remote

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       Claim                                               MX

 from the other, and     Attachment 2 ( Mobile Banking Application)
 each of which
 comprise one or
 more of an              Source: https://www.mx.com/products/mobile-banking/#helios-sec-1
 automatic
 teller/transaction
 machine (ATM), a
 self-service coin
 counter (SSCC), a
 kiosk, a digital
 signage display, an
 online accessible
 banking website, a
 personal digital
 assistant (PDA), a
 personal computer
 (PC), a laptop, a
 wireless device, or
 a combination of        Attachment 3 (Helios Guide V3)
 two or more
 thereof, and            Source:
 wherein at least        https://hubspot.mx.com/hubfs/Helios%20Guide%20v3.pdf?t=15167482
 one of said e-          80591
 banking touch
 points is in
 communication
 with one or more
 financial
 institutions
 through said multi-
 channel server;

receiving an
  actionable input
  from at least one e-
  banking touch
  point;




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       Claim                                            MX



                        Attachment 1 (Ultimate guide money experience) at 4



                        Source: https://www.mx.com/assets/resources/ult-guides/ultimate-
                        guide-money-
                        experience.pdf?mkt_tok=eyJpIjoiT0RBMllqVXpPVGd6TVRjeSIsInQi
                        OiJUcHlEQlZ6amdZZG15eVpLN1ZVXC9cLzBQdVhLTG9teFpYNUl
                        obDVCTVpqakJTZCtGN0RKUTFHbWR6b3VjeXV6and2U3BNSWx
                        ValIrZWtIZ2JtcFZYaGRHTGxqZnNBWFc4RXV1TUZnMHFMXC9
                        uK2hFRzVrOVdSdlJUeVhQQkNRa3U3NiJ9




retrieving previously
  stored data
  associated with
  said actionable
  input, wherein said
  previously stored
  data is accessible
  to any one of said
  e-banking touch       Attachment 4 (Personalized bank Marketing) at 3
  points, and said
  previously stored
  data comprises        Source: https://www.mx.com/products/marketing/
  data from one or
  more financial
  institutions and
  one or more user-
  defined
  preferences;

delivering said
 retrieved data to
 said at least one e-

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       Claim                                               MX

 banking touch
 point transmitting
 said actionable
 input;

                         Attachment 1 (Ultimate guide money experience) at 4



                         Source https://www.mx.com/assets/resources/ult-guides/ultimate-guide-
                         money-
                         experience.pdf?mkt_tok=eyJpIjoiT0RBMllqVXpPVGd6TVRjeSIsInQi
                         OiJUcHlEQlZ6amdZZG15eVpLN1ZVXC9cLzBQdVhLTG9teFpYNUl
                         obDVCTVpqakJTZCtGN0RKUTFHbWR6b3VjeXV6and2U3BNSWx
                         ValIrZWtIZ2JtcFZYaGRHTGxqZnNBWFc4RXV1TUZnMHFMXC9
                         uK2hFRzVrOVdSdlJUeVhQQkNRa3U3NiJ9

storing transactional
  usage data
  associated with
  said at least one e-
  banking touch
  point transmitting
  said actionable
  input, wherein said
  stored
  transactional usage
  data is accessible
  by any one of said     Attachment 5 (Fintech Data Analysis) at 3
  e-banking touch
  points and said one
  or more computer
  systems;               Source: https://www.mx.com/products/analytics/




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       Claim                                               MX

monitoring via said
 server said active
 session in real-time
 for selection of
 targeted marketing
 content correlated
 to said user-
 defined
 preferences;

                        Attachment 5 (Fintech Data Analysis) at 2



                        Source: https://www.mx.com/products/analytics/

subsequent to said
  monitoring,
  selecting in real-
  time said targeted
  marketing content
  correlated to said
                        Attachment 4 (Personalized bank Marketing) at 3
  user-defined
  preferences; and

                        Source: https://www.mx.com/products/marketing/




transmitting in real-
  time said targeted
  marketing content
  during said active
  session to at least
  one of said e-
                        Attachment 4 (Personalized bank Marketing) at 3
  banking touch
  points for
  acceptance,
  rejection, or no      Source: https://www.mx.com/products/marketing/


                                                      13
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     Claim                                                MX

response by a user,
wherein said
response by said
user is used during
said active session
to determine
whether
transmission of
additional
information related
to said marketing
content occurs
during said active
session.



     These allegations of infringement are preliminary and are therefore subject to change.

         10. MX has and continues to induce infringement. MX has actively encouraged or instructed

     others (e.g., its customers and/or the customers of its related companies), and continues to do so,

     on how to construct a unified banking system such as to cause infringement of one or more of

     claims 1–20 of the ’508 patent, literally or under the doctrine of equivalents. Moreover, MX has

     known of the ’508 patent and the technology underlying it from at least the date of issuance of the

     patent and the date of the lawsuit filing.

         11. MX has and continues to contributorily infringe. MX has actively encouraged or instructed

     others (e.g., its customers and/or the customers of its related companies), and continues to do so,

     on how to use its products and services (e.g., construction of unified banking system) and related

     services that provide unified banking systems such as to cause infringement of one or more of

     claims 1–20 of the ’508 patent, literally or under the doctrine of equivalents. Moreover, MX has




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known of the ’508 patent and the technology underlying it from at least the date of issuance of the

patent and the date of the lawsuit filing.

       12. MX has caused and will continue to cause MCom damage by direct and indirect

infringement of (including inducing infringement of) the claims of the ’508 patent.



       IV.      JURY DEMAND

             MCom hereby requests a trial by jury on issues so triable by right.

       V.       PRAYER FOR RELIEF

WHEREFORE, MCom prays for relief as follows:

  a.         enter judgment that Defendant has infringed the claims of the ‘508 patent;

 b.          award MCom damages in an amount sufficient to compensate it for Defendant’s

             infringement of the ‘508 patent in an amount no less than a reasonable royalty or lost

             profits, together with pre-judgment and post-judgment interest and costs under 35 U.S.C.

             § 284;

  c.         award MCom an accounting for acts of infringement not presented at trial and an award by

             the Court of additional damage for any such acts of infringement;

 d.          declare this case to be “exceptional” under 35 U.S.C. § 285 and award MCom its attorneys’

             fees, expenses, and costs incurred in this action;

  e.         declare Defendant’s infringement to be willful and treble the damages, including attorneys’

             fees, expenses, and costs incurred in this action and an increase in the damage award

             pursuant to 35 U.S.C. § 284;

  f.         a decree addressing future infringement that either (i) awards a permanent injunction

             enjoining Defendant and its agents, servants, employees, affiliates, divisions, and



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     subsidiaries, and those in association with Defendant from infringing the claims of the

     Patents-in-Suit, or (ii) awards damages for future infringement in lieu of an injunction in

     an amount consistent with the fact that for future infringement the Defendant will be an

     adjudicated infringer of a valid patent, and trebles that amount in view of the fact that the

     future infringement will be willful as a matter of law; and

g.   award MCom such other and further relief as this Court deems just and proper.



                                           Respectfully submitted,

                                           Ramey & Schwaller, LLP




                                           William P. Ramey, III
                                           Texas State Bar No. 24027643
                                           5020 Montrose Blvd., Suite 800
                                           Houston, Texas 77006
                                           (713) 426-3923 (telephone)
                                           (832) 900-4941 (fax)
                                           wramey@rameyfirm.com

                                           Attorneys for MCom, LLC




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